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From:           Kira Kelley
To:             Enslin, Sharda
Cc:             Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:        Re: [EXTERNAL] Re: Settlement Proposal
Date:           Wednesday, November 27, 2024 11:09:56 AM


Hi Sharda,

Would you be willing to stipulate to an extension of the December 15th fact deadline by a few
weeks just to give us all a buffer? We could schedule the evidentiary depo on the 17th or 18th
if so.

Best,

Kira

On Wed, Nov 27, 2024, 6:33 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:

  Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not.
  However, both he and I are available on Dec. 17th or 18th. Would either of those dates work
  for you? Technically this falls a couple days outside of our discovery period, but given that
  the parties have been planning on conducting this deposition for a while now, if we’re both
  in agreement and it’s the only date that works for the witness, I think it’s fine.




  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Tuesday, November 26, 2024 10:21 AM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
  Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
  <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
  <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
  Subject: Re: [EXTERNAL] Re: Settlement Proposal



  Hi Sharda,



  I sent it to you on September 13, with the changes we'd discussed in our phone
  call. Let me know if you can't find that thread and I will bump it in your inbox! I'll
  re-attach the updated list here as well for your convenience.



  The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did you
  have any specific days/times in mind?




                                                                                                        Exhibit J
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Best,



Kira



____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

   Hi Kira, did you ever send me an updated list of topics? What is your availability the
   week of December 9th?




   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Thursday, November 21, 2024 5:18 PM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
   <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
   <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
   Subject: [EXTERNAL] Re: Settlement Proposal



   Hi Sharda,



   Just wanted to follow up on this, and to check in on when the City would be
   available for a deposition.


   Hope you are well!



   Kira


                                                                                     Exhibit J
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____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
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                                                                 Exhibit J
